      Case 7:17-cv-06250-NSR Document 204-1 Filed 04/29/22 Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK



WHITE PLAINS HOUSING AUTHORITY

                        Plaintiff,

-against-

BP PRODUCTS NORTH AMERICA INC.,
MARIANINA OIL CORP. & ATLANTIC
RICHFIELD COMPANY                                    Case No. 17-cv-6250-NSR-JCM

                        Defendants.




             AFFIRMATION OF BERNARD T. DELANEY, Ph.D., P.E., BCEE
            1. I am the president of First Environment, Inc. First Environment is an

      environmental engineering and consulting firm with corporate headquarters at 10 Park

      Place, Building 1A, Suite 504, Butler, New Jersey.

            2. I am a Professional Engineer licensed in 15 states and a board-certified member

      of the American Academy of Environmental Engineers and Scientists. I was awarded the

      Bachelor of Science Degree in 1968 and the Master of Science degree in 1972, both in

      Chemical Engineering, from the University of New Mexico, and a Ph.D. degree in

      Environmental Health Engineering from the University of Texas in 1976. I have also

      earned a Master in Business Administration degree from Pepperdine University.

            3. I have practiced in the fields of pollution prevention and hazardous waste

      management for more than 30 years with emphasis on forensic environmental

      engineering, site investigations, industrial audits, remedial design, remedial construction,

      environmental management systems, strategic planning, air pollution control, and the



                                                                                                 1
Case 7:17-cv-06250-NSR Document 204-1 Filed 04/29/22 Page 2 of 5




applications of control and treatment technologies. My professional experience includes

the design, development, and operation of soil and groundwater remediation systems for

underground storage tank (“UST”) leaks. I also have extensive experience in the

investigation of UST leaks involving a wide variety of petroleum products and solvents.

Further, I am certified under the New Jersey Department of Environmental Protection,

Bureau of Underground Storage Tank Program for all aspects of UST work including

installation, closure, corrosion protection, testing, and subsurface evaluations. I have

worked in and with a variety of manufacturing and commercial environments including,

but not limited to, aircraft, automotive, gasoline distribution, electronics manufacturers,

refineries, and chemical facilities.

   4. Through my work in these fields, I have directed numerous projects directed at

compliance with the Resource Conservation and Recovery Act (“RCRA”) and the UST

program included in the 1984 Hazardous and Solid Waste Amendments (HSWA) of

RCRA. This work has also given me a thorough understanding of the environmental fate

and transport mechanisms associated with the migration of contamination through soils

and groundwater.

   5. I have worked as an expert witness and environmental consultant on behalf of the

White Plains Housing Authority (“WPHA”) for the past 7 years and have become

intimately familiar with the environmental contamination conditions in the soil and

groundwater at the WPHA Site and surrounding properties, including the Marianina site

(Former BP Station), located at 34 East Post Road and the Former Getty Station, located

at 26 East Post Road.




                                                                                              2
Case 7:17-cv-06250-NSR Document 204-1 Filed 04/29/22 Page 3 of 5




   6. I make this affirmation with respect to the March 2022 soil and groundwater

analytical results for soil samples and monitoring wells located downgradient of the

Former BP station.

   7. First Environment, Inc. has reviewed the March 2022 soil and groundwater

laboratory analytical results for the subject petroleum release site adjacent to the White

Plains Housing Authority (WPHA) property. The analytical results were provided to

First Environment via email and included soil results for newly installed soil borings on

WPHA property identified as WC-SB-01 through WC-SB-06 and WC-SB-08 through

WC-SB-13, along with groundwater results for four temporary monitoring points

identified as WC-MW-01 through WC-MW-04. In addition, groundwater analytical

results were received for existing site monitoring wells MW-106, MW-201, MW-202,

MW-203, and MW-205 located on the WPHA property.

   8. In my professional opinion, and to a reasonable degree of scientific certainty, the

results of the March 2022 sampling performed at the site show that:

    (1) Dissolved phase petroleum volatile organic compounds (VOCs) in groundwater

        continue to move generally northwestward from the BP Site and onto the WPHA

        property. Based on the March 2022 results, groundwater concentrations appear

        to be trending down at MW-201 and at MW-203, and appear to be stable at MW-

        202,but that apparent trend is offset by dilutive effects of higher water levels.

        Concentrations are increasing slowly over time at MW-106 to the northwest of

        the BP Site on WPHA property.

    (2) The VOC plume is expanding to the west and north-northwest on WPHA

        property. Groundwater and soil data from WC-SB-12/temporary well MW-03

        and WC-SB-13/temporary well 04 locations also indicates that movement of



                                                                                             3
Case 7:17-cv-06250-NSR Document 204-1 Filed 04/29/22 Page 4 of 5




       contaminants and expansion of the VOC plume to the west and northwest onto

       WPHA property, and is now approaching a second WPHA building (Bldg 159).

       SB-13 is closer to the Getty Station but has lower total VOC concentrations than

       SB-12. If the contamination is coming from the remediated Getty station the

       concentration would be higher not lower in SB-13 than SB-12 which is farther

       away from the Getty station. Therefore the contamination at both SB-12 and 13

       are coming from the former BP Station. Additionally, the former BP station is

       the only known source and contamination migrating to the west from the former

       BP station is consistent with the known northwest groundwater flow direction;

    (3) Groundwater levels remain at a higher elevation (almost two feet higher) than

       observed historically at the site since 2016. The elevated water levels have a

       dilutive effect on VOC contaminant concentrations. Therefore, the apparent

       reduction in groundwater VOC concentrations, at MW-201and MW-203, has

       been less than the March 2022 concentrations would suggest. At MW-106,

       concentrations will likely increase even more than they already have over time;

    (4) The VOC concentration at MW-106 is benzene, a known human carcinogen, and

       is now approximately 10 times the permissible NYSDEC water quality standard.

       Because of its chemical characteristics, benzene is normally at the leading edge

       of a VOC plume; and

9. Because of the continued migration of contamination from the former BP station both

to the west and northwest as summarized above, the remediation needed will be more

expensive than First Environment previously projected.




                                                                                          4
        Case 7:17-cv-06250-NSR Document 204-1 Filed 04/29/22 Page 5 of 5




I affirm under penalty of perjury that the foregoing is true and correct.

Executed this 28th day of April, 2022.




                                              B. Tod Delaney, Ph.D., P.E., BCEE




                                                                                  5
